Case 07-10416-BLS Doc 2377-4 Filed 08/22/07 Page 1of2

EXHIBIT C

Case 07-10416-BLS Doc 2377-4 AQAT#He AND SEWER BILL 3204

Village of Libertyville 0109316100-02
i, 118 W. Cook Ave.
ke, Libertyville, IL 60048-1874

OCCUPANT
Libertyville (847) 362-2430

500 PETERSEN RD
04/30/07 - 06/07/07
07/21/07

Actual-Read

MINIMUM BILL
CURRENT CHARGES:
WATER $14.06
SEWER $9.37
TOTAL CURRENT CHARGES $23.43
TOTAL AMOUNT DUE BY 07/21/07 $23.43
AMOUNT DUE AFTER 07/21/07 $25.78

10% Late Charge added to Current Charges if paymentis not received by the Due. Date. See reverse side for additional billing information.
IF MAILED PLEASE ALLOW SEVEN WORKING DAYS. FOR POSTING TO YOUR ACCOUNT.
VILLAGE BULLETIN BOARD oe Boe Your Usage Over The Past 12 Months
“ (in 1000's of Gallons)

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2

Vehicle stickers go on sale March 19th. Watch for applications
in the mail. S

Online Bill Payment is now available: www.libertyvillé.com ”-

Libertyville E-news is a new e-mail newsletter with information
about future events, services, and reminders. To subscribe, send
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POG tn Hw Y

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SHOP LIBERTYVILLE
_ PLEASE DETACH AND RETURN BOTTOM PORTION WITH PAYMENT
WATER AND SEWER BILL ff UAT AUIMTRIDTINIM NEM) EN AN MA EC
Account # 0109316100-02
Village of Libertyville CURRENT CHARGES $23.43
118 W. Cook Ave.
Libertyville, IL 60048-1874 :
(847) 362-2430
Libertyville
minctindaenteoe Return Service Requested AMOUNT DUE AFTER 07/21/07 $25.78
—. PAYMENT AMOUNT ENCLOSED
Make Checks Payable and Remit To:
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AUTO “*AUTO*S DIGIT 60048. un see uernade a ear eeebbablsh ls
OCCUPANT 1150 8 PO Box 4299
500 PETERSEN RD Carol Stream, IL 60197-4299

LIBERTYVILLE IL 60048-1012
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